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CONFIDENTIAL SETTLEMENT AGREEMENT
FULL WAIVER OF CLAIMS, AND GENERAL RELEASE,

This Confidential Settlement Agreement, Full Waiver of Claims, and General Release
(hereinafter referred to as the “Agreement”) is entered into between RENE RODRIGUEZ
(“RODRIGUEZ”), and PRIMETIME AMUSEMENTS USA (CENTRAL FLORIDA) LLC
(“DEFENDANT”).

WHEREAS, RODRIGUEZ has filed a lawsuit in the Middle District of Florida, Case No.
6-15-cv-01374-PGB-GJK (“the Lawsuit”) alleging that DEFENDANT failed to pay him certain
overtime wages allegedly due under the Fair Labor Standards Act (“FLSA”);

WHEREAS, DEFENDANT denies any liability to RODRIGUEZ and;

WHEREAS, the parties prefer to avoid the uncertainties and expense of further litigation;

NOW, THEREFORE, in consideration of the mutual promises contained herein, it is
agreed between the parties as follows:

L. DISMISSAL OF CASE

Promptly after execution of this Agreement, the parties agree to file a Joint Motion to
Approve Settlement Agreement and to Dismiss the Action with Prejudice in the form attached as
Exhibit A, and to submit this Agreement to the Court for an in camera inspection, if the Court so
permits. The parties acknowledge and agree that this Agreement will not be valid unless and
until the Court approves the parties’ settlement and dismisses the case with prejudice; that date
shall be the Effective Date of this Agreement. If the Court declines to approve the Parties’

settlement, this Agreement shall be null and void.

   

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Zs CONSIDERATION

In exchange for the mutual promises exchanged herein, DEFENDANT agrees to pay an
all-inclusive total of $8,500.00 (the “Settlement Payment”) as the full and final settlement of any
and all claims of any kind RODRIGUEZ had or may now have against DEFENDANT. The
Settlement Payment will be sent to counsel for RODRIGUEZ within ten (10) business days of
the Effective Date. The Settlement Payment shall be made in the form of two (2) checks:

(A) One check in the amount of $4,500.00 (not subject to withholding), made payable
to RODRIGUEZ, for which a form 1099 shall be issued to RODRIGUEZ;

(B) One check for attorney’s fees and costs in the amount of $4,000.00, made payable
to Wenzel Fenton Cabassa, P.A., for which a form 1099 shall be issued.

It is specifically agreed that RODRIGUEZ will be fully and completely responsible for
paying any and all taxes due on the payments set forth in Sections 2(A) and (B) above, and that
RODRIGUEZ has discussed this with his attorney and fully understands his responsibilities.
RODRIGUEZ agrees that if it is at any time determined by the Internal Revenue Service that
taxes of any type should have been deducted by DEFENDANT from any of the monies
RODRIGUEZ received pursuant to Sections 2(A) and (B) above, RODRIGUEZ will indemnify
and hold DEFENDANT harmless and assume any and all liability for any taxes, interest, or
penalties assessed against DEFENDANT.

RODRIGUEZ further understands and agrees that the Settlement Payment is all that he is
entitled to receive from DEFENDANT, as settlement of any and all of his claims of any kind
against DEFENDANT, including but not limited to the claims in the Lawsuit. RODRIGUEZ

acknowledges that the Settlement Payment represents a disputed amount and that this settlement

 

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is a compromise which validates the effectiveness of this Agreement and the release of all claims
included in this Agreement, which has been reviewed and approved by his attorney.

2: ADEQUATE CONSIDERATION

RODRIGUEZ agrees that the Settlement Payment constitutes adequate and ample
consideration for the rights and claims he is waiving under this Agreement, and for the
obligations imposed upon him by virtue of this Agreement.

4. MUTUAL RELEASE AND WAIVER OF ALL CLAIMS

In exchange for the Settlement Payment described in paragraph 2 above, RODRIGUEZ
releases DEFENDANT, along with any parent company, subsidiaries, and any and all related
entities, as well as all of their respective current and former members, partners, managers,
officers, contractors, associates, employees, shareholders, successors in interest, consultants,
representatives, attorneys, and agents, both in their representative and individual capacities (“the
Released Parties”) from any and all claims or demands of any kind they have had or may now
have against the Released Parties, including, but not limited to, any claims based on any and all
aspects of his employment with DEFENDANT (including any claims for overtime pay,
liquidated damages, and other pay of any kind) or separation from employment with
DEFENDANT. This release of claims includes, but is not limited to, a release of any rights or
claims RODRIGUEZ may have under the Fair Labor Standards Act, Florida’s Minimum Wage
Act, Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act of 1990; 42
U.S.C. Section 1981; the Age Discrimination in Employment Act; any claim under the worker’s
compensation law of Florida and the retaliation provision of that statute; Florida whistleblower
laws: and/or any other federal, state, local, or foreign laws, ordinances, or regulations, including

but not limited to those prohibiting employment discrimination, such as the Florida Civil Rights

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Act. RODRIGUEZ also agrees that this Agreement includes a release of all claims based on the
state and federal constitutions, and all claims based on theories of contract or tort (c.g., negligent
or intentional infliction of emotional distress, defamation, assault, battery, false imprisonment,
invasion of privacy, wrongful termination, etc.), whether based on common law or otherwise.
The foregoing list is meant to be illustrative rather than exhaustive. RODRIGUEZ agrees that he
received any and all leave of any kind (including but not limited to all leave under the Family
and Medical Leave Act) that he was or may have been entitled to receive. RODRIGUEZ
acknowledges, agrees, and understands that this release is a full and final bar to any and all
claims of any type that he had or may now have against the Released Parties through the date he
signs this Agreement.

Additionally, RODRIGUEZ agrees that the Settlement Payment fully and completely
compensates RODRIGUEZ for signing this Agreement, and that RODRIGUEZ is entitled to no
other monies from the Released Parties, for back wages, overtime pay, liquidated damages,
commissions, bonuses, or other monies allegedly due to him from DEFENDANT in connection
with his employment with DEFENDANT. RODRIGUEZ states that he is receiving in this
settlement all monies allegedly owed to him from his work for DEFENDANT, and
RODRIGUEZ states that he has no further claims or demands against the Released Parties, and
will file nothing against any of the Released Parties in the future. Further, RODRIGUEZ agrees
that these statements constitute admissions and can be used against him in the event he brings
any action or proceeding in the future against any of the Released Parties. RODRIGUEZ agrees
and states that if any municipal, state or federal agency attempts to compensate him at any time
in the future for work he has done or payments received in the past from DEFENDANT, he will
advise said agency in writing that he has already been compensated in full by DEFENDANT ina

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confidential settlement for all wages allegedly due to him, and declines the payments and ask
that DEFENDANT not have to pay those monies. Notwithstanding the foregoing, RODRIGUEZ
acknowledges that he is not waiving rights or claims that may arise after the date he signs this
Agreement, including without limitation any rights or claims that RODRIGUEZ may have to
secure enforcement of the terms and conditions of this Agreement.

Notwithstanding the foregoing, nothing in this Agreement shall be construed as the
parties settling, waiving, discharging, compromising and/or releasing any claim for worker's
compensation benefits in relation to RODRIGUEZ's worker's compensation accident/injury of
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DEFENDANT releases RODRIGUEZ from any and all claims or demands of any kind
they have had or may now have against DEF ENDANT, including, but not limited to, any claims
based on any and all aspects of his employment with DEFENDANT.

5, NO LAWSUITS OR CLAIMS

RODRIGUEZ waives the rights and claims set forth above, and also agrees not to
institute, or have instituted by anyone, a lawsuit against the Released Parties based on any such
claims or rights. RODRIGUEZ further acknowledges and agrees that with respect to the rights
and claims he is waiving, he waives not only his right to recover money or any other relief in any
action he might commence, but also his right to recover in any action brought on his behalf by

any municipal, state or federal agency.

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6. NO FUTURE EMPLOYMENT

RODRIGUEZ agrees that he will not apply for employment or seek reinstatement as an
employee with DEFENDANT in the future, nor will he work as a contractor with DEFENDANT
in the future. DEFENDANT will have no obligation whatsoever to employ or reinstate
RODRIGUEZ in the future.

Te CONFIDENTIALITY

As a material condition to this Agreement, RODRIGUEZ agrees that he will not disclose
or discuss the terms of the settlement of this action, the existence of a settlement, the
circumstances surrounding the settlement of this action, the terms of this Agreement, or the
circumstances related to this Agreement, with any other person, except his attorney, accountant,
tax advisor, or spouse, unless compelled by law. Moreover, in the event that RODRIGUEZ
discusses this Agreement with his attorney, accountant, tax advisor, or spouse, it shall be his
duty, responsibility, and obligation to direct them not to discuss the terms of this Agreement with
any other person. RODRIGUEZ shall be fully and completely responsible for any breach by
them of this confidentiality provision. RODRIGUEZ also specifically agrees not to have contact
with other current or former employees of DEFENDANT for the purpose of suggesting to them
in any way (or assisting them in any manner) to file or pursue a claim of any kind against any of
the Released Parties.

8. CONSEQUENCES OF BREACH

In the event of a proven breach of paragraph 7 of this Agreement, RODRIGUEZ shall

return his share of the Settlement Payment to DEFENDANT.

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9. NON-DISPARAGEMENT

RODRIGUEZ agrees that he will not make any disparaging or negative remarks in the
future, directly or indirectly, concerning any of the Released Parties. RODRIGUEZ further
agrees that if he receives a request to verify his employment with DEFENDANT, he shall direct
any such requests to Defendant’s President, David Goldfarb, who shall personally or through his
designee disclose only RODRIGUEZ’s dates of employment, rate of pay, and position held.
RODRIGUEZ acknowledges and agrees that should RODRIGUEZ intentionally or inadvertently
use any present or former officer, Board member, manager or other employee of DEFENDANT
as a reference, RODRIGUEZ is deemed to have agreed that the person so used is acting solely in
a personal capacity, and not on behalf of DEFENDANT, and DEFENDANT shall have no
liability to RODRIGUEZ for any information provided by the person so used, regardless of truth
or falsity.

10. NON-ADMISSION OF LIABILITY

RODRIGUEZ acknowledges that DEFENDANT is entering into this Agreement solely to
avoid the cost of litigation. In making this Agreement, DEFENDANT does not admit that it has
done anything wrong as to RODRIGUEZ. On the contrary, DEFENDANT denies liability of
any kind to RODRIGUEZ.

11. SEVERABILITY

The parties agree that if any provision of this Agreement or any part of any provision of
this Agreement is found to be invalid by a court of competent jurisdiction, such finding shall not
affect the validity of any other provision or part of this Agreement, except that if the release

provisions in Paragraph 4 above are found to be invalid, this Agreement shall be null and void

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and all monies RODRIGUEZ received under this Agreement will be immediately refunded to
DEFENDANT.

12. ENTIRE AGREEMENT

The parties agree that this Agreement constitutes their entire and final understanding and
agreement with respect to the subject matter of this Agreement and supersedes all prior or
contemporaneous negotiations, promises, covenants, agreements, or representations concerning
all matters directly, indirectly, or collaterally related to the subject matter of this Agreement.

13. DISPUTES

In the event of a dispute as to the interpretation or application of, or an alleged breach of,
this Agreement, the parties agree that such dispute shall be heard by a judge, not a jury, and that
this Agreement shall be governed by the laws of the State of Florida. The prevailing party shall
be entitled to its/his reasonable attorneys’ fees and costs.

14. AMENDMENTS

The parties agree that this Agreement cannot be amended or modified except by a writing
executed by the parties hereto or their respective attorneys, administrators, trustees, personal
representatives, and/or successors.

15. ACKNOWLEDGMENT

RODRIGUEZ acknowledges that he has been given a reasonable period of time in which
to consider signing this Agreement, that he has consulted with his counsel before signing this
Agreement, and that RODRIGUEZ understands the Agreement in its entirety. In addition,
RODRIGUEZ acknowledges that DEFENDANT has not made any representations other than
those contained in this Agreement. RODRIGUEZ also acknowledges that he enters into this
Agreement voluntarily, without any pressure or coercion, and with full knowledge of its

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significance, and that it constitutes a full and final settlement and bar as to any and all claims he

had or may now have against DEFENDANT.

IN WITNESS WHEREOF, RENE RODRIGUEZ AND DEFENDANT, PRIMETIME
AMUSEMENTS USA (CENTRAL FLORIDA), LLC HAVE EXECUTED THIS

AGREEMENT.

PRIMETIME AMUSEMENTS USA
(CENTRAL FLORIDA) LLC

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DAVID GOLDFARB, PRESIDENT

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Date Date

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